                                    UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                    VIOLATION OF SUPERVISION PROCEEDINGS
                                                MINUTE SHEET
CR No.         09-3601-MV                            USA vs.    Phillips

     Date:     September 3, 2019             Name of Deft:      Nicholous Phillips

                Before the Honorable    Martha Vázquez

     Time In/Out:      11:30 a.m. / 12:10 p.m.                    Total Time in Court (for JS10):   40 minutes

              Clerk:   Linda Romero                                             Court Reporter:     Carmela McAlister

             AUSA:     Elaine Ramirez                                      Defendant’s Counsel:     David Ring

             VSR in:   Santa Fe, NM                                                 Interpreter:

Probation Officer:     Amy Gee                                                          Sworn?           Yes              No

      Defendant Sworn

      Defendant questioned re: physical/mental condition and whether under influence of alcohol, drugs, or any medication

      Court finds Defendant competent to proceed

X     Court advises Defendant of his/her rights

X     Court advises / confirms Defendant is aware of charges and possible penalty

X     Defendant ADMITS violation(s): Standard – The defendant shall refrain from excessive use of alcohol and shall not
      purchase, possess, use, distribute or administer any controlled substance. Mandatory – The defendant shall refrain from
      any unlawful use of a controlled substance.

      Violation report waived

      Proceed to sentencing

      Supervision - REVOKED - REINSTATED

       SENTENCE IMPOSED                           Imprisonment (BOP): HELD IN ABEYANCE FOR 6 MONTHS

Supervised Release:                                             Probation:                                       500-Hour Drug Program
REINSTATED/
 REVOKED

                                                 SPECIAL CONDITIONS OF SUPERVISION
X     All previously imposed conditions remain in place.               X      Cognitive behavioral treatment program


      OTHER:

      Advised of Right to Appeal                 Waived Appeal Rights per Plea Agreement

      Held in Custody                            Voluntary Surrender

      Recommended place(s) of incarceration:           , IF ELIGIBLE.

    OTHER COMMENTS            Court addresses defendant. Defense counsel addresses Court. Defendant admits violations.
                              Defendant addresses Court. Court requests PO Amy Gee obtain the BOP records on defendant’s
                              medications. Defense counsel addresses Court. Probation Officer Gee addresses Court.
                              Government counsel addresses Court. Court advises that she will order that a neuropsychological
                              evaluation be performed on the defendant. Court addresses defendant and holds Petition in
                              abeyance.
